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                           Exhibit 9
Case 23-05005
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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

 PACIFIC ALLIANCE ASIA OPPORTUNITY                       Index No: 652077/2017
 FUND L.P.,
                                                         Hon. Barry R. Ostrager, J.S.C.
       Plaintiff,

       v.
                                                         RESTRAINING NOTICE
 KWOK HO WAN, a/k/a KWOK HO, a/k/a GWO
 WEN GUI, a/k/a GUO WENGUI, a/k/a GUO WEN
 GUI, a/k/a WAN GUE HAOYUN, a/k/a MILES
 KWOK, a/k/a HAOYUN GUO, GENEVER
 HOLDINGS CORPORATION, and GENEVER
 HOLDINGS LLC,

       Defendants.



TO:    Greenwich Land, LLC
       C/O Corporate Creations Network, Inc.
       3411 Silverside Rd.
       Tatnall Building Ste. 104
       Wilmington, DE 19810

       WHEREAS, in an action in the Supreme Court of the State of New York, County of New

York, Index No. 652077/2017, between Pacific Alliance Asia Opportunity Fund L.P. (“Judgment

Creditor”) and Defendants Miles Kwok (“Judgment Debtor”), Genever Holdings Corporation, and

Genever Holdings LLC, being all the parties to the action, on February 3, 2021, the Supreme Court

of the State of New York, County of New York, entered judgment in favor of Judgment Creditor

and against Judgment Debtor in the amount of $116,402,019.57. This amount, together with

statutory interest, remains due and unpaid.

       PLEASE TAKE NOTICE that pursuant to CPLR § 5222(b), which is set forth in full

herein, you are hereby forbidden to make or suffer any sale, assignment or transfer of, or any
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interference with, any property in which Judgment Debtor has an interest, except as provided in

CPLR § 5222(b). We understand the Judgment Debtor may have direct, indirect, or beneficial

ownership in, or the right or ability to direct or control, you and your assets.

                       CIVIL PRACTICE LAW AND RULES § 5222(b)

         5222(b) Effect of restraint; prohibition of transfer; duration. A judgment debtor or obligor
served with a restraining notice is forbidden to make or suffer any sale, assignment, transfer or
interference with any property in which he or she has an interest, except as set forth in subdivisions
(h) and (i) of this section, and except upon direction of the sheriff or pursuant to an order of the
court, until the judgment or order is satisfied or vacated. A restraining notice served upon a person
other than the judgment debtor or obligor is effective only if, at the time of service, he or she owes
a debt to the judgment debtor or obligor or he or she is in the possession or custody of property in
which he or she knows or has reason to believe the judgment debtor or obligor has an interest, or
if the judgment creditor or support collection unit has stated in the notice that a specified debt is
owed by the person served to the judgment debtor or obligor or that the judgment debtor or obligor
has an interest in specified property in the possession or custody of the person served. All property
in which the judgment debtor or obligor is known or believed to have an interest then in and
thereafter coming into the possession or custody of such a person, including any specified in the
notice, and all debts of such a person, including any specified in the notice, then due and thereafter
coming due to the judgment debtor or obligor, shall be subject to the notice except as set forth in
subdivisions (h) and (i) of this section. Such a person is forbidden to make or suffer any sale,
assignment or transfer of, or any interference with, any such property, or pay over or otherwise
dispose of any such debt, to any person other than the sheriff or the support collection unit, except
as set forth in subdivisions (h) and (i) of this section, and except upon direction of the sheriff or
pursuant to an order of the court, until the expiration of one year after the notice is served upon
him or her, or until the judgment or order is satisfied or vacated, whichever event first occurs. A
judgment creditor or support collection unit which has specified personal property or debt in a
restraining notice shall be liable to the owner of the property or the person to whom the debt is
owed, if other than the judgment debtor or obligor, for any damages sustained by reason of the
restraint. If a garnishee served with a restraining notice withholds the payment of money
belonging or owed to the judgment debtor or obligor in an amount equal to twice the amount due
on the judgment or order, the restraining notice is not effective as to other property or money.

       PLEASE TAKE FURTHER NOTICE that disobedience of this Restraining Notice is

punishable as a contempt of Court.




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 DATED: May 4, 2021                        Respectfully submitted,
 New York, New York                        O’MELVENY & MYERS LLP

                                           By:__________________________
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                                           Attorneys for Plaintiff Pacific Alliance Asia
                                           Opportunity Fund L.P.




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